8:09-cr-00081-BCB-SMB        Doc # 317      Filed: 10/29/13    Page 1 of 2 - Page ID # 1332




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:09CR81
                                               )
              Plaintiff,                       )
                                               )                MEMORANDUM
              vs.                              )                 AND ORDER
                                               )
KENNY DOFNER,                                  )
                                               )
              Defendant.                       )

       Defendant Kenny Dofner has submitted a petition (Filing No. 316) seeking relief

under 28 U.S.C. § 2255, in which he asserts that the United States Supreme Court's

decision in Alleyne v. United States, 133 S.Ct. 2151 (2013), applies retroactively and

should be applied to vacate his 2010 convictions for (1) conspiracy to distribute cocaine

and methamphetamine, and (2) possession of a firearm during a drug trafficking crime.

       In his petition (Filing No. 316 at CM/ECF page 8 of 22), Dofner asserts that he

entered a plea of not guilty to the offenses, and went to trial before a judge. In fact, Dofner

entered pleas of guilty to both counts, and entered into a Federal Rule of Criminal

Procedure 11(c)(1)(C) plea agreement, stipulating to the sentences that he received.

       The Alleyne decision has not been applied retroactively in the Eighth Circuit, and

is inapplicable to Dofner's case. He has raised no other viable arguments in his petition.

       Dofner also requests a Certificate of Appealability in the event his petition is denied.

(Filing No. 316 at CM/ECF page 5 of 22.) Pursuant to the Antiterrorism and Effective

Death Penalty Act of 1996, Pub. L. No. 104-132, 110 Stat. 1214 (“AEDPA”), the right to

appeal the denial of a § 2255 motion is governed by the certificate of appealability

requirements of 28 U.S.C. § 2253(c). 28 U.S.C. § 2253(c)(2) provides that a certificate of

appealability may issue only if the applicant has made a substantial showing of the denial
8:09-cr-00081-BCB-SMB        Doc # 317      Filed: 10/29/13    Page 2 of 2 - Page ID # 1333




of a constitutional right. A “substantial showing of the denial of a constitutional right”

requires a demonstration “that reasonable jurists could debate whether (or, for that matter,

agree that) the petition should have been resolved in a different manner or that the issues

presented were ‘”adequate to deserve encouragement to proceed further.”’“ Slack v.

McDaniel, 529 U.S. 473, 484 (2000) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 & n.4

(1983)). The Court concludes that the Defendant has not made a substantial showing of

the denial of a constitutional right as required by 28 U.S.C. § 2253(c).

       IT IS ORDERED:

       1.     Defendant Kenny Dofner's petition for relief under 28 U.S.C. § 2255, and

request for certificate of appealability (Filing No. 316) is denied;

       2.     A separate Judgment will be issued denying the § 2255 motion; and

       3.     The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at his last known address.

       DATED this 29th day of October, 2013.


                                           BY THE COURT:


                                           s/Laurie Smith Camp
                                           Chief United States District Judge




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